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                                                                             2016 Mar-28 AM 10:04
                                                                             U.S. DISTRICT COURT
                                                                                 N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          WESTERN DIVISION


STEPHANIE HICKS,                       )
                                       )
             Plaintiff,                )
                                       )
v.                                     )            Case No. 7:13-cv-02063-TMP
                                       )
CITY OF TUSCALOOSA,                    )
                                       )
             Defendant.                )



                          MEMORANDUM OPINION

      On February 19, 2016, the jury returned a verdict in this case in the total

amount of $374,000.00, on findings that the defendant had discriminated against

the plaintiff on the basis of her pregnancy-related medical conditions and had

retaliated against her for taking twelve weeks of leave under the Family and

Medical Leave Act (“FMLA”).          (Doc. 78).     The jury’s answers regarding

compensatory damages raised questions regarding a possible double recovery or

excessive recovery, to which the defendant objected at the time the verdict was

returned. For the reasons explained below, the court agrees that the judgment is

due to be reduced to eliminate a double recovery by the plaintiff.
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                                  I. Procedural History

       First it is important to understand the procedural history of the case and

claims submitted to the jury at trial. Plaintiff alleged and the jury found 1 that she

was employed as a police officer by the defendant, assigned to the West Alabama

Narcotics Squad (“WANS”), a multi-jurisdiction police unit formed to combat

illegal drug trafficking.2 After working a temporary assignment with WANS,

plaintiff applied for and was accepted for assignment to the unit in November

2011. In January 2012, she discovered she was pregnant and notified the WANS

commander that she would be taking FMLA leave later in the year. From August

to November 2012, plaintiff was on FMLA leave for the birth of her child. She

returned to work on WANS in late November 2012, at which time she informed

her commander that she was continuing to breastfeed the child. The evidence also

shows that, although unrecognized by her at the time, she was suffering from post-

partum depression. Upon her first day back at WANS, she was given a written

counseling for two violations of WANS policies and procedures. Within eight

working days of her return to work, the commander of the unit caused her to be


1
   All references to the evidence and jury findings herein take the view of the evidence most
favorable to the plaintiff supporting the jury’s verdict.
2
  Often referred to as WANS, the West Alabama Narcotics Squad was made up of officers from
the Tuscaloosa Police Department, the Tuscaloosa County Sheriff’s Department, the Northport
Police Department, and the University of Alabama Police Department. Because the Tuscaloosa
Police Department contributed the most officers and resources to WANS, the commander of the
unit was a Tuscaloosa police captain.
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removed from WANS and reassigned to patrol duties in the Tuscaloosa Police

Department. As a result of the reassignment, plaintiff no longer received the

supplemental “investigator’s pay,” in the amount of $84.88 per month, over and

above her regular patrol-officer pay, which she received while assigned to

WANS. 3 The jury found this reassignment to be both discriminatory, in violation

of the Pregnancy Discrimination Act, and retaliatory under the FMLA.                         See

Special Interrogatories, Doc. 78.

       From early December 2012 to January 4, 2013, plaintiff was granted leave to

deal with her post-partum depression, which was diagnosed after her transfer from

WANS to patrol duties. On January 4, 2013, she met with the chief of the

Tuscaloosa Police Department and the major in charge of patrol duties to discuss

accommodations for her breastfeeding. She expressed concerns about wearing a

snug-fitting ballistics vest,4 which her doctor believed could staunch her milk

production and perhaps cause an infection, and the availability of opportunities to

pump breast milk during her patrol shift.              When agreement was not reached


3
  Plaintiff also lost the use of a city vehicle assigned to her while she worked on the WANS unit,
but no evidence of the monetary value of this use of a vehicle was presented at trial. The jury
was given no evidence from which to determine the monetary value that could be assigned to this
employment benefit.
4
   A ballistics vest is a bullet-proof and stab-proof vest worn by patrol officers for protection.
The vest is tailored to each officer and snug fitting to assure coverage of the officer’s vital
organs. Tuscaloosa Police Department regulations required patrol officers to wear a ballistics
vest, unless excused by the officer’s physician. As a matter of practice, all officers on actual
patrol (as distinct from those given desk assignments) wore vests for safety reasons.
                                                3
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concerning accommodations,5 plaintiff resigned her position as a patrol officer, and

the jury found this was a discriminatory constructive discharge in violation of the

Pregnancy Discrimination Act.6


5
  The constructive-discharge claim was not based simply on the City’s failure to “accommodate”
the plaintiff’s wish to breastfeed. Rather, the evidence was undisputed that the Tuscaloosa
Police Department had an “Alternative Duty Policy,” under which police officers with temporary
medical conditions could be assigned temporarily to a desk job while recovering from the
medical condition. Plaintiff argued that she was denied this opportunity while breastfeeding and
therefore was treated worse than other similarly-situated officers with non-pregnancy-related
medical conditions. Under the facts of this case, the court was not required to determine whether
the Pregnancy Discrimination Act includes a duty to provide accommodations for breastfeeding
because the theory of the claim was that plaintiff was treated worse than similarly situated
officers with respect to her pregnancy-related medical condition.
6
   It is important to note that the plaintiff’s constructive discharge claim was based entirely on
alleged discrimination due to a pregnancy-related medical condition, not FMLA retaliation. The
plaintiff’s position statement in the final pretrial order (Doc. 53) related to her constructive
discharge claim stated:

       (4) The Plaintiff has established a prima facie case of constructive discharge. The
       Defendant created work conditions that are so “intolerable that a reasonable
       person” would have felt “forced into involuntary resignation.” The plaintiff was
       breastfeeding and her doctor provided a note indicating wearing a vest could
       cause infection. After being assigned to patrol, Hicks asked to be assigned to a
       desk job while she was breastfeeding. Other female officers were placed in a
       desk job while breast feeding. No other females have worn a vest while breast
       feeding. The Defendant told Hicks they would accommodate her, but then stated
       she could either patrol without a vest or wear an ill-fitting vest. Hicks was placed
       in a position where she was forced to choose between breastfeeding her child and
       protecting herself on the job. The work environment was hostile due to Hicks’
       inability to work safely under the limitations imposed by the TPD. All the
       testimony in this case acknowledged the danger for a patrol officer to work
       without of a vest and that no one knew of an officer who did so. The City’s
       suggestion that Hicks patrol without a vest, or wear an ill-fitting vest exposed
       Hicks to a life-and-death risk that other patrol officers were not required to face
       simply because she wanted to breastfeed her child. When an employer forces the
       officer to choose between breastfeeding and her own safety, a reasonable person
       may feel compelled to resign.

See Doc. 53, pp. 10-11. This is the theory of the constructive discharge presented and argued to
the jury and on which the court instructed the jury. See Doc. 83, p. 9. Thus, this claim was not
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       Based on the findings that plaintiff had proven that her transfer to WANS

violated both the Pregnancy Discrimination Act and the FMLA, and that the

constructive discharge from her position as a patrol officer violated the Pregnancy

Discrimination Act, the jury award her damages. First, the jury awarded the

plaintiff $50,000.00 for the discriminatory transfer from WANS to patrol in

violation of the Pregnancy Discrimination Act. That award included both loss of

income and benefits (i.e., investigator’s pay, pension contributions, etc.) and

emotional-distress damages.7 Because she remained employed as a patrol officer

after the transfer, these damages could not have involved loss of her basic

compensation as a patrol officer. Next, the jury awarded her $108,000.00 for the

constructive discharge in violation of the Pregnancy Discrimination Act. That

award included the loss of her basic income and benefits as a patrol officer from



based on FMLA retaliation. The FMLA retaliation claim related only to her transfer from
WANS to patrol. See Doc. 83, pp. 13-15.
7
   Although the jury’s answers to the Special Interrogatories do not include a breakdown of the
elements of damages found by the jury, the jury’s verdict is considered along with the court’s
instructions. Myers v. Central Florida Investments, Inc., 592 F.3d 1201, 1217 (11th Cir. 2010)
(“The jury verdict is considered alongside the jury instructions…”). Indeed, there is a
presumption that the verdict is consistent with the jury’s instructions. United States v. Brown,
983 F.2d 201, 203 (11th Cir. 1993) (“The presumption that juries follow their instructions is
necessary to any meaningful search for the reason behind a jury verdict.”). As to the Pregnancy
Discrimination Act claims, the court instructed the jury to consider as damages lost net pay and
benefits as well as emotional distress. As to the FMLA-related claims, the court instructed the
jury that the proper elements of damages were limited to net lost pay and benefits (but not
emotional distress) and statutory liquidated damages. In assessing the maximum amounts the
jury could have awarded plaintiff under the most favorable view of the evidence in the case,
there is nothing to indicate that the jury based their damages award on anything other than these
elements.
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the date of the discharge (January 4, 2013) to the date of the verdict, plus

emotional-distress damages. Third, the jury awarded plaintiff $108,000.00 for the

FMLA-retaliatory transfer from WANS to patrol duties, and, finally, the jury

awarded a like amount, $108,000.00, in liquidated damages under the FMLA.

      It is these final two awards to which the defendant objects on the ground that

they include a double recovery for the same lost income and benefits awarded in

the $50,000.00 award made under the Pregnancy Discrimination Act. Because the

court also had concerns that there was a double recovery, the court asked the

parties to brief this question.



                          II. Double or Excessive Recovery

      The court agrees that the jury award of both $50,000.00 for pregnancy

discrimination and $108,000.00 for FMLA retaliation with respect to the plaintiff’s

transfer from WANS to patrol involves a double recovery. A double recovery

occurs when the damages awarded on two or more claims stemming from the same

conduct exceeds the actual damages proven by the plaintiff at trial.            See

Democratic Republic of the Congo v. Air Capital Group, LLC, 614 F. App'x 460,

474 (11th Cir. 2015). Because these two awards stem from the same conduct

(plaintiff’s involuntary transfer off the WANS unit), the court is required to

determine whether either of them meets or exceeds plaintiff’s actual damages for


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that wrongful conduct. For the reasons explained below, the court finds that the

$50,000.00 award represents the maximum actual damages plaintiff suffered due to

her involuntary transfer from WANS.

       The court must determine what elements of actual damages underlie these

two awards. First, it is apparent that both awards compensated plaintiff for the

same loss of pay and benefits she suffered due to the transfer. In addressing these

two claims, the court instructed the jury to consider as part of her damages the net

lost pay and benefits caused by the discriminatory/retaliatory transfer. Under the

evidence in this case, the maximum amount of lost wages and benefits under either

theory was the loss of “investigator’s pay” of $84.88 per month from the date of

the transfer (December 7, 2012) to the date of the verdict (February 19, 2016).8

Counting that time period as 39 months, 9 plaintiff’s maximum lost wage and

benefits caused by the transfer was $3,310.32.




8
   Plaintiff may quibble that she also lost the use of a city-owned vehicle and the benefit of not
working night shifts and weekends. But as to the loss of the use of a vehicle, plaintiff offered no
evidence at all as to the monetary value of that employment benefit, so the jury had no
evidentiary basis on which to calculate a monetary award. As for night shifts and weekend work,
the only evidence was that, upon her transfer, plaintiff was assigned to the day shift on the
Riverwalk beat. Any claim that she might be required to work the night shift is entirely
speculative. Also, there was no evidence regarding any pay differentials between working night
or weekend shifts and weekday shifts.
9
  The court uses 39 months because this encompasses all of December 2012 as well as all of
February 2016, and the intervening months, in order to capture the maximum amount of wages
and benefits lost due to the transfer, to the date of the verdict. This gives plaintiff the best
possible view of the evidence the jury could have relied upon for their verdict.
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         Having determined that the only evidence before the jury on which to

calculate lost pay and benefits from the transfer was the testimony regarding the

“investigator’s pay” differential between being assigned to WANS and working as

a patrol officer, the court must examine what other kinds of damages plaintiff may

have been entitled to recover under these respective theories. Under the Pregnancy

Discrimination Act, it is undisputed that, in addition to lost pay and benefits,

plaintiff was entitled to recover for emotional distress and mental anguish. That is

not true with respect to her FMLA-retaliation claim. The law is very clear that for

violations of the FMLA, the only actual damages10 recoverable are lost pay and

benefits 11; there is no entitlement to recover for emotional or mental anguish. “The

Plaintiff correctly points out that recovery of non-pecuniary losses, such as

emotional pain, suffering, mental anguish, loss of enjoyment of work and

humiliation are not provided for under the Family and Medical Leave Act, 29

U.S.C. § 2617(a).” Johnson v. Potter, 732 F. Supp. 2d 1264, 1285 (M.D. Fla.

2010); Harley v. Health Center of Coconut Creek, Inc., 518 F. Supp. 2d 1364,

1370-71 (S.D. Fla. 2007); see also McAnnally v. Wyn South Molded Products, 912

F. Supp. 512, 513 (N.D. Ala. 1996); Godwin v. Rheem Mfg. Co., 15 F. Supp. 2d

10
     The court will discuss interest and liquidated damages under the FMLA below.
11
   There is an additional damages provision that applies “in a case in which wages, salary,
employment benefits, or other compensation have not been denied or lost to the employee.” 29
U.S.C. § 2617(a)(1)(A). Because plaintiff in this case did lose employment benefits, this
provision does not apply.


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1197, 1209 (M.D. Ala. 1998). “Under the FMLA, a plaintiff may recover (i)

damages due to lost compensation, (ii) interest on that amount, and (iii) liquidated

damages equal to (i) and (ii). See 29 U.S.C. 2617(a)(1).” Nero v. Industrial

Molding Corp., 167 F.3d 921, 925 (5th Cir. 1999). At least obliquely, the Eleventh

Circuit recognized this proposition when it affirmed and adopted the Memorandum

Opinion of Judge Nelson in Graham v. State Farm Mutual Insurance Co., 193 F.3d

1274 (11th Cir. 1999), in which Judge Nelson wrote, “the FMLA does not allow

recovery for mental distress or loss of job security.” Id. at 1284. Likewise, the

Fourth, Fifth, Sixth, Seventh, Eighth, Ninth, and Tenth Circuits have all held that

the FMLA does not allow an award of emotional-distress damages.                 See

Montgomery v. Maryland, 72 F. App'x 17, 19 (4th Cir. 2003); Nero, supra;

Brumbalough v. Camelot Care Centers, Inc., 427 F.3d 996, 1008 (6th Cir. 2005);

Cianci v. Pettibone Corp., 152 F.3d 723, 728–29 (7th Cir.1998); Rodgers v. City of

Des Moines, 435 F.3d 904, 909 (8th Cir. 2006); Farrell v. Tri-City Metro. Transp.

Dist. of Oregon, 530 F.3d 1023, 1025 (9th Cir. 2008); Walker v. United Parcel

Serv., Inc., 240 F.3d 1268, 1277 (10th Cir. 2001).

      It is true that plaintiff also is entitled to recover interest on the monetary

damages she claimed under the FMLA. Although the FMLA does not specify

what the term “prevailing rate” of interest means, 28 U.S.C. § 1961 defines the

interest rate to be used to calculate post-judgment interest as “a rate equal to the


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weekly average 1-year constant maturity Treasury yield, as published by the Board

of Governors of the Federal Reserve System.” See also Harley v. Health Center of

Coconut Creek, Inc., 2008 WL 155045, at *3 (S.D. Fla. Jan. 10, 2008). Between

December 2012 and February 2016, this rate ranged from a low of 0.11% per

annum to, more recently, 0.58% per annum. Using these rates of interest, the

interest on plaintiff’s lost wages of $3,310.32 amounts to approximately $9.60.12

Adding this interest to the maximum potential lost wage attributable to the

discriminatory/retaliatory transfer, plaintiff’s total maximum recovery (not yet

counting liquidated damages) under the FMLA was $3,319.92, far short of the

$108,000.00 the jury awarded. The jury simply had no legal or evidentiary basis

for awarding more than $3,319.92 (plus liquidated damages, discussed below) for

that claim.

       This calculation shows that the award of $50,000.00 the jury returned for

damages under the Pregnancy Discrimination Act claim encompasses the

maximum award of actual damages plaintiff was entitled to recover due to the

wrongful transfer. That award included all of her lost pay and benefits (plus

interest) in the amount of $3,319.92, plus the emotional-distress damages she could

12
    The court confesses that, having chosen to pursue a law degree rather than an accounting
degree, this calculation may not be accurate. It is close enough, however, to demonstrate that
interest on the lost monetary wages cannot account for over $104,000.00 in additional damages
awarded by the jury on plaintiff’s FMLA claim. The $50,000.00 award more than adequately
accounts for interest on the lost wages, as well as the emotional-distress damages awardable
under the Title VII Pregnancy Discrimination Act.


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recover under the Pregnancy Discrimination Act, but to which she was not entitled

under the FMLA. Because that award contained everything plaintiff was entitled

to recover (except for liquidated damages, which are discussed below) under the

FMLA and the Pregnancy Discrimination Act, the award of $50,000.00 is the

amount to be used for the judgment against the defendant on both claims premised

on the wrongful transfer from WANS to patrol duties.

      In addition to claiming damages for a wrongful transfer, plaintiff also

alleged, and the jury found, that she suffered a constructive discharge about a

month later when the City refused to treat her breastfeeding the same as similarly

situated officers with non-pregnancy related medical conditions. This constructive

discharge claim was premised entirely on the Pregnancy Discrimination Act, not

the FMLA, as reflected in the final pretrial order. The award of $108,000.00 for

this claim is legally supported by adequate evidence that plaintiff lost three years

of basic patrol-officer pay and benefits from the time of the discharge on

January 4, 2013, to the verdict on February 19, 2016. This amount also will be

included in the judgment against the defendant.

      As already described, the $108,000.00 awarded for FMLA retaliation is

legally unsupported by any evidence in the record. The court demonstrated above

that, based on the admissible evidence before the jury, the maximum amount the

jury could have awarded for FMLA retaliation was plaintiff’s lost “investigator’s


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pay” from December 7, 2012, to February 19, 2016, plus interest, in the total

amount of $3,319.92. Because this same amount necessarily was found by the jury

to be plaintiff’s lost wages resulting from the violation of the Pregnancy

Discrimination Act and included in the $50,000.00 award on that claim, she is not

entitled to recover it twice as a separate award under the FMLA.

      The plaintiff argues in her post-verdict brief that the $108,000.00 award for

the FMLA-retaliation claim consists of plaintiff’s lost pay of $44,000.00 per year

less amounts she made as a fitness instructor after leaving the police department.

(See Doc. 82, p. 8). But this misconstrues the evidence in the case. As noted

above, the FMLA claim involved only the retaliatory transfer from WANS to

patrol; the constructive discharge was entirely unrelated to her FMLA claim, being

based entirely on a pregnancy-discrimination claim. Therefore, the only damages

attributable to the retaliatory transfer was the difference in pay between what she

made as a WANS investigator and as a regular patrol officer. Simply put, she did

not lose her basic pay as a patrol officer due to the FMLA retaliation. What she

lost was the pay differential reflected in the “investigator’s pay,” and that totals

only $3,310.32 (plus interest) over the three years between the transfer and the

verdict.

      Although the amount of lost wages and benefits under the FMLA is

encompassed     within   the   $50,000.00    damages    awarded    for   pregnancy


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discrimination, the amount was relevant to the plaintiff’s entitlement to liquidated

damages. Simply because she suffered the same amount of lost wages and benefits

under both the FMLA and the Pregnancy Discrimination Act, and has recovered

that lost pay under her pregnancy discrimination claim, does not mean she is not

entitled to liquidated damages under 29 U.S.C. § 2617(a)(1). Thus, the court

submitted to the jury the question of how much wages and benefits plaintiff lost (as

distinct from total damages including emotional distress) in order to determine her

claim for potential liquidated damages under FMLA. The jury apparently became

confused, however, because returning an award of $108,000.00 for FMLA lost

wages was simply unsupported by any view of the evidence.              Because the

maximum amount of lost wage-and-benefits damages, plus interest, she could

recover under the evidence presented with respect to the FMLA claim was

$3,319.92, she is entitled to a like amount in liquidated damages, but not more.

      The jury’s finding that plaintiff is entitled to $108,000.00 in liquidated

damages is neither binding on the court nor supported by the evidence at trial.

Liquidated damages are presumptively awarded by the court upon a finding that

the plaintiff has suffered a compensable loss of wages and benefits under the

FMLA. The court has the discretion to deny liquidated damages if the employer

demonstrates both that it acted in good faith and had a reasonable basis for

believing its conduct did not violate the FMLA. See Harley v. Health Center of


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Coconut Creek, Inc., 2008 WL 155045, at *3 (S.D. Fla. Jan. 10, 2008). The court

finds that the City of Tuscaloosa has not shown that it acted in good faith with

respect to plaintiff’s retaliatory transfer from WANS to patrol, and therefore,

plaintiff is entitled to liquidated damages of $3,319.92 as part of the judgment

against the defendant.



                         III. Remittitur and Entry of Judgment

      Plaintiff argues that the proper procedure for the court to correct a double

recovery or a legally unsupported award of damages is to give the plaintiff the

option of accepting a remittitur of the judgment or having a new trial. (See

Doc. 82). Relying on Johansen v. Combustion Engineering, Inc., 170 F.3d 1320

(11th Cir. 1999), she asserts that the court has no authority to reduce an excessive

verdict because doing so violates the parties’ Seventh Amendment right to trial by

jury in a civil case. Although the court agrees that it may not set aside or reduce a

verdict “merely because the judge might have awarded a different amount of

damages” (Doc. 82, p. 4), that is not the situation presented here. In this case, as

demonstrated above, the jury’s award of $108,000.00 for an FMLA-retaliatory

transfer from WANS to patrol duties was both a double recovery of all lost wages

attributable to the transfer, as well as legally unsupported by any evidence for any

amount greater than $3,310.32. Where the amount of damages awarded by the


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jury includes amounts for which there is no legal basis, the court may simply

reduce the judgment to the correct amount legally supported by the evidence.

      First, it must be understood what this case is not. This is not a case where

the court simply disagrees with the jury’s resolution of the facts relevant to the

award of damages. Under the Seventh Amendment, the parties are entitled to have

the jury resolve questions of fact and credibility presented by the evidence. But

this does not mean that the jury can go beyond the evidence and make an award

that is not legally supported by evidence in the record. The Eleventh Circuit has

explained the rule, saying:


      As a general rule, “a remittitur order reducing a jury's award to the
      outer limit of the proof is the appropriate remedy where the jury's
      damage award exceeds the amount established by the evidence.”
      Goldstein v. Manhattan Indus., Inc., 758 F.2d 1435, 1448 (11th Cir.
      1985); see also Frederick v. Kirby Tankships, Inc., 205 F.3d 1277,
      1284 (11th Cir. 2000) (“The rule in this circuit states that where a
      jury's determination of liability was not the product of undue passion
      or prejudice, we can order a remittitur to the maximum award the
      evidence can support.”).


Rodriguez v. Farm Stores Grocery, Inc., 518 F.3d 1259, 1266 (11th Cir. 2008).

Rodriguez was a case under the Fair Labor Standards Act in which store managers

sued to collect unpaid overtime. The case was tried to a jury and the jury returned




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an award at least twice the amount the evidence at trial supported, even viewing the

evidence most favorably to the prevailing plaintiffs. 13 The court then explained:


       We recognize, of course, that the jury had to make approximations
       and estimates in order to arrive at a damages verdict because Farm
       Stores did not maintain payroll records documenting the number of
       hours each store manager worked. The jury was required, however, to
       operate within the bounds of the evidence presented at trial and to
       calculate damages using the formula they were instructed to apply.
       Each store manager testified to the average number of hours he
       worked each week and to his salary; sometimes they testified to
       ranges, such as 52 to 60 hours per week. In that and other ways the
       evidence gave the jury some flexibility in coming up with a dollar
       amount of damages for each store manager. Unfortunately, the jury's
       damages verdict ended up well outside the boundaries of the evidence.
       Whether the error resulted from disregarding the evidence, a
       mathematical mistake, confusion, or some other reason, it is still error.
       As our predecessor Court observed, we cannot “permit damage
       speculation where the formula for calculation is articulable and
       definable. Flexibility beyond the range of the evidence will not be
       tolerated.” Jamison Co. v. Westvaco Corp., 526 F.2d 922, 936 (5th
       Cir. 1976).


Id. at 1267-1268. The remedy for such awards outside the bounds of evidence is

for the “district court [to] reduce the award to the maximum amount established by

the evidence.” Rodriguez v. Farm Stores Grocery, Inc., 518 F.3d 1259, 1268 (11th

Cir. 2008); see also Gowski v. Peake, 682 F.3d 1299, 1310 n. 10 (11th Cir. 2012);


13
    The holding in the Rodriguez case is complicated by the fact that the trial court also
erroneously instructed the jury as to the formula they were to apply to calculate the plaintiffs’
overtime claims. That is not true in the instant case as the court instructed the jury to award the
plaintiff her net lost pay and benefits attributable the FMLA-retaliatory transfer. The evidence at
trial established that plaintiff lost her supplemental “investigator’s pay” as a result of the transfer,
yet the jury awarded damages far in excess of what the supplement was.
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Goldstein v. Manhattan Industries, Inc., 758 F.2d 1435, 1448 (11th Cir. 1985) (“In

general, a remittitur order reducing a jury's award to the outer limit of the proof is

the appropriate remedy where the jury's damage award exceeds the amount

established by the evidence.”); Howell v. Marmpegaso Compania Naviera, S.A.,

536 F.2d 1032, 1034–35 (5th Cir. 1976); Natco, Inc. v. Williams Brothers

Engineering Co., 489 F.2d 639, 641 (5th Cir. 1974).

      Another example of this remittitur rule is found in Wai v. Federal Express

Corp., 461 Fed. Appx. 876 (11th Cir. 2012), an FMLA-retaliation case. In that

case, the court instructed the jury to determine the plaintiff’s lost wages and

benefits from the date of her termination to the date of the verdict, the evidence of

which at trial could not have exceeded $50,000.00. Yet, the jury returned an award

of $225,000.00, causing the parties to assume that the jury had also included “front

pay” in the award. The court of appeals explained that front pay was not part of

the compensable damages that could be awarded by the jury, but is part of the

court’s possible equitable remedies. Because the damages awarded by the jury

clearly exceeded what the evidence of lost wages supported at trial, the court of

appeals vacated the award and the parallel liquidated damages award, commenting

in a footnote, however, that “We note the possibility that past losses could be

handled by way of a proper remittitur….” Wai v. Federal Express Corp., 461 F.

App'x 876, 887 n. 11 (11th Cir. 2012).


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      These cases are not inconsistent with Johansen and the line of authority on

which it rests. Even Johansen, a case dealing with excessive punitive damages,

explained:


      A constitutionally reduced verdict, therefore, is really not a remittitur
      at all. A remittitur is a substitution of the court's judgment for that of
      the jury regarding the appropriate award of damages. The court
      orders a remittitur when it believes the jury's award is unreasonable
      on the facts. A constitutional reduction, on the other hand, is a
      determination that the law does not permit the award. Unlike a
      remittitur, which is discretionary with the court and which we review
      for an abuse of discretion, …, a court has a mandatory duty to correct
      an unconstitutionally excessive verdict so that it conforms to the
      requirements of the due process clause.

      We conclude that, upon determination of the constitutional limit on a
      particular award, the district court may enter a judgment for that
      amount as a matter of law. Just as the Supreme Court struck the
      unlawful interest from the jury's verdict in Estill and ordered judgment
      entered for the remainder, so may the district court strike the
      unconstitutional excess from a jury's punitive damage award and enter
      judgment for that amount. As in Estill, the power to do so is located
      in the court's authority to enter judgment as a matter of law. Thus, a
      court proceeds under Rule 50, not Rule 59, in the entry of judgment
      for a constitutionally reduced award and the Seventh Amendment is
      not implicated in this legal exercise.


Johansen v. Combustion Engineering, Inc., 170 F.3d 1320, 1331 (11th Cir. 1999)

(internal footnotes and citations omitted). In the instant case, it is not a matter of

the court finding the award to plaintiff to be unreasonable; rather the award of

$108,000.00 for the FMLA-retaliatory transfer is unsupported by any evidence

beyond a maximum amount of $3,310.32 (plus interest). There simply was no
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evidentiary basis in the record for the jury to find that plaintiff lost more than that

amount due to the retaliatory transfer. “Where a portion of a verdict is for an

identifiable amount that is not permitted by law, the court may simply modify the

jury's verdict to that extent and enter judgment for the correct amount. If a

reduction in damages is necessitated by legal error, the reduction is not a remittitur

and a new trial is not required.” Marlite, Inc. v. Eckenrod, 2011 WL 39130, at *3

(S.D. Fla. Jan. 5, 2011), aff'd sub nom. Marlite, Inc. v. Am. Canas, 453 F. App'x

938 (11th Cir. 2012) (citing Johansen and New York, L.E. & W.R. Co. v. Estill,

147 U.S. 591, 622, 13 S. Ct. 444, 37 L. Ed. 292 (1883) (modifying a judgment

when the jury improperly awarded interest)) (internal citations omitted).

      In this case, the court has demonstrated that the jury’s award of damages

greater than $3,310.32 (plus interest) for plaintiff’s wrongful transfer under the

FMLA is excessive and unsupported by any evidentiary basis. The only evidence

of a lost wage or benefit (the only damages allowable under the FMLA)

attributable to the transfer was the loss of the supplemental “investigator’s pay”

from the date of the transfer to the date of the verdict, the maximum total of which

was $3,310.32. Indeed, even that sum is a double recovery because it is already

reflected in the $50,000.00 award plaintiff received under the Pregnancy

Discrimination Act for the same conduct (i.e., wrongful discriminatory/retaliatory




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transfer from WANS to patrol).14 The court is required, therefore, to reduce the

verdict to the maximum allowable under the evidence and to eliminate a double

recovery of these lost wages and benefits. The court is not required to give the

plaintiff the option of choosing between a remitted amount or a new trial.



                                       IV. Conclusion

       In conclusion, the court will enter a judgment remitting the verdict returned

by the jury to a combined $161,319.92, comprised of the $50,000.00 award for the

discriminatory/retaliatory transfer, $108,000.00 for the discriminatory constructive

discharge, and $3,319.92 in liquidated damages under the FMLA. Plaintiff may

also seek an award of attorneys’ fees and expenses by filing her application and

supporting evidence concerning fees and expenses within fourteen (14) days from

this date.

       DATED this 25th day of March, 2016.




                                             _______________________________
                                             T. MICHAEL PUTNAM
                                             UNITED STATES MAGISTRATE JUDGE



14
   Even though this sum is a double recovery for purposes of compensating plaintiff for her lost
wages and benefits, the court uses this finding as the basis for determining the “like amount” for
liquidated damages under the FMLA.
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